                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                   3:16CV289

INGERSOLL-RAND COMPANY              )
& SUBSIDIARIES,                     )
                                    )
      Plaintiff,                    )
                                    )
vs.                                 )                        ORDER
                                    )
UNITED STATES OF AMERICA,           )
                                    )
      Defendant.                    )
____________________________________)

        This matter is before the Court upon the Parties’ Cross Motions for Summary Judgment.
A hearing was held on October 10, 2019. For the reasons stated in open court,
        IT IS THEREFORE ORDERED THAT both the Plaintiff and the Defendant’s motions
are GRANTED IN PART AND DENIED IN PART. The Parties are hereby directed to provide
a proposed judgment to the Court within 180 days. Should the Parties be unable to agree on a
proposed judgment, they are directed to submit competing proposals to the Court. The Court will
thereafter enter final judgment in this case.



                                       Signed: October 11, 2019




         Case 3:16-cv-00289-GCM Document 41 Filed 10/11/19 Page 1 of 1
